EXHIBIT C
                              CERTAINTY MANAGEMENT
                Introduction to the Historic Visa and Mastercard Settlement

Hi there, my name is Patrick Laing, the founder and CEO of Certainty Management. We’re a
profit-consulting firm in Henderson, Nevada. We’re a veteran-owned company. We have
associates cross country and clients in all 50 states. I’m also the headliner host of the Voice
America business radio show, Finding Certainty. Now on our radio show, in our company, we’re
always looking for ways to help our clients improve their profitability. We do this in several
different ways. We have seven different divisions, with cost reduction, tax credit recovery, deep
discount benefits and so forth. If you’d like to get to know us a little bit you’re welcome to go to
our website at certaintyteam.com or click on the link listed below.

This project, this Visa/Mastercard settlement that you’ve been referred to, is a 20-year litigation
case. It’s finally being finalized. It’s gone through all the appeals. Visa and Mastercard have
settled the case and agreed to pay approximately $30 billion dollars in both fee reimbursement and
a reduction in fees over the next several years. Um, about 5 and a half billion has been earmarked
to repay merchants like yourself, if you accepted Visa/Mastercard between the years of 2004 and
2019. If you went out of business or only were in business accepting Visa/Mastercard payments
for a portion of that that’s fine, you can apply for that portion, let the person who owned it or
bought it from you know as well if you’d like, and they can receive that distribution for the other
years.

Now why are they doing this? Well it’s ultimately comes down to the fact the merchants
complained they were being overcharged by Visa/Mastercard for their interchange fees. Um, they
uh, fought it for a long time. It was a 20-year court case. They’ve gone through several appeals
but they did agree to settle. And these are your funds. They’re waiting for you. All you have to
do is opt in to receive them. This is not an opt out class action suit where you get your $2.35
because you took some random drug 20 years ago. This is a suit that you have to opt in for. You
have to provide your information, agree, and contract with the attorney to let them go to work to
represent you. One of the nice things about it is you don’t have to provide a bunch of statements
and documentation. All we need is your name and email address. We’ll send you the e-signature
agreement, the DocuSign. In which they ask for a little bit more information, your EIN number
most importantly, your name and address, phone number, email, uh, that’s about it. And that gives
them authorization to go to the Visa/Mastercard portal, collect the data that they need to show how
much you processed, and how much your share in the settlement would be due. Um, that’s about
it. It’s fairly simple. I know the biggest question people have is - Is this real? We have were
introduced to this by a longtime business relationship, the firm Betz & Baril who we work with is
a court-appointed attorney. They have been authorized to facilitate these settlements. They do get
a piece of it. It’s a 60/40 split. You receive 60% of whatever the settlement is. The other 40%
goes to the law firm for their work and marketing, and so forth and so on. Um, they are court-
appointed; they have access to the Visa/Mastercard portal as I said, they can collect the data they
need as soon as you complete that DocuSign signature. If you have any questions feel free to reach
out to us, our number is 888/684-3122. You can visit us on our website at certaintyteam.com.
You can even text me personally if you’d like. My number is 760/712-8532. We’re a real
company. The law firm is very real. Uh, it’s this, this settlement, is real you can see a couple of
examples, some articles that have been written on the site here. Um, if you have additional
questions let us know. Please share this with everyone you know. Your friends and network. We


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believe this can be a great blessing to anyone who opts in and takes part in it. We want to get the
word out to as many people as we can. Right now, less than 2% of the merchants nationwide are
even aware of this, and this can be a significant payout. We’re estimating it could be as much as
$10,000 dollars or even more, per million dollars processed. Could be more or less when it comes
down to it, depending on how many applicants and so forth. But it’s significant. Over 15 years
remember, 15 years trailing that can add up. So, we hope to help you, we look forward to serving
you well. We appreciate any referrals you send our way. Thanks so much and I wish you the very
best!




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